     Case 22-01109-MBK             Doc 13 Filed 07/10/22 Entered 07/11/22 00:16:39                                Desc Imaged
                                        Certificate of Notice Page 1 of 2
Form order − ntcorder

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

In Re: George Sariotis and Cindy Sariotis
Debtor
                                                            Case No.: 22−12916−MBK
                                                            Chapter 11
George Sariotis
Plaintiff

v.

Thalia Sariotis
Defendant

Adv. Proc. No. 22−01109−MBK                                 Judge: Michael B. Kaplan




                                      NOTICE OF JUDGMENT OR ORDER
                                        Pursuant to Fed. R. Bankr. P. 9022

        Please be advised that on July 8, 2022, the court entered the following judgment or order on the court's docket
in the above−captioned case:

Document Number: 12 − 3
Order Granting Motion For Summary Judgment in favor of Plaintiff's and against Defendant's (Related Doc # 3).
Service of notice of the entry of this order pursuant to Rule 9022 was made on the appropriate parties. Signed on
7/8/2022. (wiq)

     Parties may review the order by accessing it through PACER or the court's electronic case filing system
(CM/ECF). Public terminals for viewing are also available at the courthouse in each vicinage.




Dated: July 8, 2022
JAN: wiq

                                                            Jeanne Naughton
                                                            Clerk
       Case 22-01109-MBK                     Doc 13 Filed 07/10/22 Entered 07/11/22 00:16:39                                             Desc Imaged
                                                  Certificate of Notice Page 2 of 2
                                                              United States Bankruptcy Court
                                                                  District of New Jersey
Sariotis,
       Plaintiff                                                                                                       Adv. Proc. No. 22-01109-MBK
Sariotis,
       Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0312-3                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Jul 08, 2022                                               Form ID: orderntc                                                          Total Noticed: 5
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 10, 2022:
Recip ID                 Recipient Name and Address
pla                      Cindy Sariotis, 1801 Pitney St, Oakhurst, NJ 07755-2840
dft                      Ellynn Wetter, 61 Redwood Dr, Ocean, NJ 07712-8711
pla                      George Sariotis, 1801 Pitney St, Oakhurst, NJ 07755-2840
dft                    + Ryan Wetter, 61 Redwood Drive, Ocean, NJ 07712-8711
dft                    + Thalia Sariotis, 61 Redwood Drive, Ocean, NJ 07712-8711

TOTAL: 5

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 10, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 8, 2022 at the address(es) listed below:
Name                               Email Address
Geoffrey P. Neumann
                                   on behalf of Plaintiff Cindy Sariotis geoff.neumann@gmail.com timothy.neumann25@gmail.com;btassillo@aol.com

Geoffrey P. Neumann
                                   on behalf of Plaintiff George Sariotis geoff.neumann@gmail.com timothy.neumann25@gmail.com;btassillo@aol.com


TOTAL: 2
